 Case: 1:10-cv-01168 Document #: 1269 Filed: 01/16/18 Page 1 of 6 PageID #:37786
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1                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
2                                EASTERN DIVISION
3
4    NATHSON E. FIELDS,            )
                                   )
5                      Plaintiff, )             Docket No. 10 C 1168
                                   )
6                 vs.              )
                                   )
7    CITY OF CHICAGO, et al.,      )            Chicago, Illinois
                                   )            October 18, 2011
8                      Defendants. )            9:40 a.m.
9
                            TRANSCRIPT OF PROCEEDINGS
10                  BEFORE THE HONORABLE MATTHEW F. KENNELLY
11
     APPEARANCES:
12
13   For the Plaintiff:           LAW OFFICES OF H. CANDACE GORMAN
                                       BY: MS. H. CANDACE GORMAN
14                                     220 South Halsted Street
                                       Suite 200
15                                     Chicago, Illinois 60661
16
17   For the Defendant:           DYKEMA GOSSETT PLLC
                                       BY: MR. DANIEL M. NOLAND
18                                     10 South Wacker Drive
                                       Suite 2300
19                                     Chicago, Illinois 60606
20
                                  COOK COUNTY STATE'S ATTORNEY
21                                     BY: MR. STEPHEN L. GARCIA
                                       500 Richard J. Daley Center
22                                     Chicago, Illinois
23
24   for Herschella Conyers:            LAW OFFICES OF JEAN MACLEAN SNYDER
                                             BY: MS. JEAN MACLEAN SNYDER
25                                           4845 South Kenwood Avenue
                                             Chicago, Illinois 60615
 Case: 1:10-cv-01168 Document #: 1269 Filed: 01/16/18 Page 2 of 6 PageID #:37787
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 Case: 1:10-cv-01168 Document #: 1269 Filed: 01/16/18 Page 3 of 6 PageID #:37788
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1         (The following proceedings were had in open court:)
2                THE CLERK: 10 C 1168, Fields v. City.
3                MS. GORMAN: Good morning, your Honor; Candace Gorman
4    for the plaintiff.
5                MS. SNYDER: Good morning, your Honor; Jean Snyder on
6    behalf of myself and Herschella Conyers.
7                MR. NOLAND: Good morning, your Honor; Dan Noland for
8    the City defendants.
9                MR. GARCIA: Good morning, your Honor; Stephen Garcia
10   on behalf of defendants Wharrie and Kelley.
11               THE COURT: Okay. So where are things regarding the
12   subpoena?
13               MS. SNYDER: We have gone over every scrap of paper
14   in our offices, gathered together everything, removed the work
15   product and privilege documents, almost finished a log.
16               We have given -- a while ago, given the City of
17   Chicago a likely account of their hours and a ceiling of those
18   hours, which was ten hours, and an hourly rate, which was
19   discounted from my usual hourly rate, and we have not heard
20   back from them.
21               THE COURT: Where do we go from here?
22               MR. NOLAND: Your Honor had ordered that we were
23   going to pay for her costs. We have talked about that, and we
24   will agree to it. Ms. Snyder and I have worked out what that
25   is going to be.
 Case: 1:10-cv-01168 Document #: 1269 Filed: 01/16/18 Page 4 of 6 PageID #:37789
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1                THE COURT: Okay.
2                MR. NOLAND: So they're going to be producing to us
3    this afternoon the nonprivileged file, and so I believe that
4    will close the --
5                THE COURT: Basically I can say that the motion to
6    quash is now effectively moot, I can terminate it?
7                MS. SNYDER: I think that's correct.
8                THE COURT: Fine. The motion to quash is moot and
9    it's terminated.
10               So we're just waiting -- now at this point we're
11   waiting on the Seventh Circuit, or what exactly?
12               MR. GARCIA: It's still pending. They haven't set an
13   argument date yet.
14               THE COURT: Okay. So it's fully briefed. You just
15   haven't gotten an argument date.
16               MR. GARCIA: Right.
17               THE COURT: Is there other stuff that remains to be
18   done here one way or another?
19               MS. GORMAN: Not right now, your Honor. We're
20   pursuing discovery.
21               THE COURT: Well, I didn't ask right now. Is there
22   other stuff that remains to be done? Have you completed
23   discovery, I guess, is the question.
24               MS. GORMAN: No, we're not even --
25               MR. NOLAND: Your Honor set a schedule --
 Case: 1:10-cv-01168 Document #: 1269 Filed: 01/16/18 Page 5 of 6 PageID #:37790
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1                THE COURT: Yes.
2                MR. NOLAND: -- that's in place. I forget the
3    closure date but --
4                MS. GORMAN: It's in March.
5                THE COURT: It's a ways off.
6                MR. NOLAND: It's a little bit off, so we have been
7    working on these written discovery issues, and I think we're
8    getting close to the end of those.
9                THE COURT: All right.
10               MR. NOLAND: So we'll be getting oral discovery.
11               THE COURT: I'm going to give --
12               MS. GORMAN: I still have subpoenas that are
13   outstanding to the federal government. They have responded to
14   some of it last week and provided some documents, but there
15   are others that have not been provided yet.
16               THE COURT: All right. Well, time to start rattling
17   cages, I guess.
18               December the 19th at 9:30 for a status.
19               MS. GORMAN: Thank you.
20               MS. SNYDER: Thank you, your Honor.
21               MR. NOLAND: Thank you.
22        (Which were all the proceedings had in the above-entitled
23   cause on the day and date aforesaid.)
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 Case: 1:10-cv-01168 Document #: 1269 Filed: 01/16/18 Page 6 of 6 PageID #:37791
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1                              C E R T I F I C A T E
2
3              I hereby certify that the foregoing is a true and
4    correct transcript of the above-entitled matter.
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6
7    /s/ Laura M. Brennan                                  November 2, 2017
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     Laura M. Brennan
10   Official Court Reporter                                       Date
     Northern District of Illinois
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